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         ORDERED in the Southern District of Florida on June 11, 2022.



                                                           Peter D. Russin, Judge
                                                           United States Bankruptcy Court
_____________________________________________________________________________

                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

         In re:
                                                           Case No. 22-13166-PDR
         Generex Biotechnology Corp,
                                                           Chapter 7
                  Debtor.
                                                 /

                          ORDER DENYING AS MOOT MOTION FOR ENTRY
                                  OF AN ORDER OF RELIEF

                  This matter is before the Court on Petitioning Creditor Three Brothers

         Trading, LLC’s Motion for Entry of an Order of Relief Immediately (Doc. 16). On June

         6, 2022, the Court entered the Order for Relief in Involuntary Case and Order Setting

         Deadline for Filing Schedules, Statements and Other Documents (Doc. 17), which is

         the same relief sought in the Motion. Accordingly, the Court ORDERS:

                  1.     The Motion (Doc. 15) is DENIED as moot.

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         Copies To:
         All parties in interest.


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